                        IN THE
       Case 3:14-cr-00118-K            STATES
                             Document 41  FiledDISTRICT
                                                07/08/14 COURT
                                                          Page 1 of 1                              PageID 104
                        FORTH NORTJIFJRNDiSlfRIGT OF Tif S
                                               i}5\_lf~. WfV
                                                         "'. -;-r~TEXAS
                                                     ·-· -"Fl_LE.D- --
                                                   . . . - - - ..i• ...:t.,.,; l. .....


UNITED STATES OF AMERICA

vs.
                                                      Ju: -8-;-l
                                                   .__~§ii.-..-~J  CA E NO.: 3:14-CR-118-K (02)
                                              <;:RK, U.S§DISTIUCT ~
JEALINA JENNETTE CRAVEN
                                                                     t"nufy               =(f-


        JEALINA JENNETTE CRAVEN, by consent, under authority ofUnited States v. Dees, I25 F.3d 26I (5th
Cir. I997), has appeared before me pursuant to Fed. R. Crim.P. II, and has entered a plea of guilty to the One Count
Indictment filed on March 26, 2014. After cautioning and examining Defendant Jealina Jennette Craven under
oath concerning each of the subjects mentioned in Rule II, I determined that the guilty plea was knowledgeable and
voluntary and that the offense charged is supported by an independent basis in fact containing each of the essential
elements of such offense. I therefore recommend that the plea of guilty be accepted, and that Defendant Jealina
Jennette Craven be adjudged guilty of Conspiracy to Possess Stolen Mail Matter, 18 USC§ 371[18 USC§ 1708]
and have sentence imposed accordingly. After being found guilty ofthe offense by the district judge,

~       The defendant is currently in custody and should be ordered to remain in custody.

D       The defendant must be ordered detained pursuant to I8 U.S.C. § 3143(a)(l) unless the Court finds by clear
        and convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        D       The Government does not oppose release.
        0       The defendant has been compliant with the current conditions of release.
        D       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                other person or the community if released and should therefore be released under § 3142(b) or (c).

        D       The Government opposes release.
        D       The defendant has not been compliant with the conditions of release.
        0       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

0       The defendant must be ordered detained pursuant to I8 U.S.C. § 3I43(a)(2) unless (I )(a) the Court finds there
        is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly
        shown under § 3I45(c) why the defendant should not be detained, and (2) the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a dan            o any other person or the
        community if released.

        Signed July 8, 20I4

                                                                    PAUL D. STICKNEY
                                                                    UNITED STATES MAGISTRATE JUDGE

                                                         NOTICE

          Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(l)(B).
